        Case 21-21053-jrs        Doc 79-7       Filed 11/24/21 Entered 11/24/21 17:05:12            Desc
                                              Exhibit H Page 1 of 1

EXTRUSION GROUP LLC - DIP
A/R Aging Summary
As of October 31, 2021
                                                1 - 30   31 - 60   61 - 90    > 90       TOTAL
   Johns Manville                              6,840          0         0            0    6,840
   US Meltblown-formerly American Elite PPE         0         0         0    81,658      81,658
   Allowance for Uncollectible                      0         0         0    (81,658)    (81,658)


TOTAL                                          6,840          0         0            0    6,840




                                                                                                      Page 1 of 1
